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        Exhibit A 3 i
                       to
          Defendant’s Notice of Removal
Filing #Case
         92788214   E-Filed 07/18/2019
             1:19-cv-23100-DPG         03:13:14
                                 Document       PM
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      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
      IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      CASE NO.: 2019-018945-CA-01
      SECTION: CA44
      JUDGE: William Thomas

      Cooperatieve Rabobank U.A., New York Branch et al
      Plaintiff(s) / Petitioner(s)
      vs.
      Crowe LLP
      Defendant(s) / Respondent(s)
      ____________________________/

        ORDER GRANTING MOTION FOR ADMISSION TO APPEAR PRO HAC VICE
         PURSUANT TO FLORIDA RULE OF JUDICIAL ADMINISTRATION 2.510

               THIS CAUSE came before the Court upon Andrew Solomon’s Verified Motion for

      Admission to Appear Pro Hac Vice pursuant to Florida Rule of Judicial Administration 2.510.

      The Court has carefully considered the Motion, and being otherwise fully advised in the

      premises, it is ORDERED and ADJUDGED:


            1. Said Motion be and is hereby GRANTED.

            2. Andrew Solomon of the law firm of Solomon & Cramer LLP is permitted to appear pro hac
              vice in this Court as co-counsel to Scott Jay Feder, P.A., and attorney of record for

              Plaintiffs in the instant case.
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                                                                   CaseNo: 2019-018945-CA-01
                                                                   Page 2 of 2




DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 18th day of July,
2019.




                                                    2019-018945-CA-01 07-18-2019 3:05 PM
                                                    Hon. William Thomas

                                                    CIRCUIT COURT JUDGE
                                                    Electronically Signed



 No Further Judicial Action Required on THIS MOTION

 CLERK TO RECLOSE CASE IF POST JUDGMENT



Copies Furnished To:
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